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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         2:18-cv-00617-RGK-GJS                                          Date   August 27, 2018
 Title            Lack v. Mizuho Bank, Ltd. et al.



 Present: The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
           Sharon L. Williams                               Not Reported                          N/A
                Deputy Clerk                         Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendants:
                         Not Present                                             Not Present
 Proceedings:                 (IN CHAMBERS) Order Re: Mizuho’s Motion for Certification for
                              Interlocutory Appeal (DE 58)

        Presently before the Court is defendant Mizuho Bank’s (“Mizuho”) Motion for Certification for
Interlocutory Appeal. (DE 58.) On June 19, 2018, in ruling on a motion to dismiss, the Court found that
although this is a “close case,” the Court has personal jurisdiction over Mizuho in this action. (See Order
Re: Mizuho’s Mot. Dismiss, ECF No. 51.) Seizing on the Court’s “close case” language, Mizuho now
seeks to certify the question of personal jurisdiction for interlocutory appeal to the Ninth Circuit Court
of Appeals. But the Court declines to do so.

        Under 28 U.S.C. § 1292(b), a district court may certify an interlocutory order for appeal where
the order (1) “involves a controlling question of law”; (2) “as to which there is a substantial ground for
difference of opinion”; and (3) “an immediate appeal from the order may materially advance the
ultimate termination of the litigation.” Villarreal v. Caremark LLC, 85 F. Supp. 3d 1063, 1067 (D. Ariz.
2015) (citing 28 U.S.C. § 1292(b)). “The decision to certify an order for interlocutory appeal,” however,
“is committed to the sound discretion of the district court.” United States v. Tenet Healthcare Corp., No.
CV-04-857-GAF(JTLX), 2004 WL 3030121, at *1 (C.D. Cal. Dec. 27, 2004) (citing Swint v. Chambers
Cty. Comm’n, 514 U.S. 35, 47 (1995)). Courts should grant certification under section 1292(b) only in
“exceptional circumstances” that “justify a departure from the basic policy of postponing appellate
review until after the entry of a final judgment.” In re Cement Antitrust Litig. (MDL No. 296), 673 F.2d
1020, 1026 (9th Cir. 1981).

        The Court finds that the “exceptional circumstances” necessary to justify certifying the order for
interlocutory appeal are not present here. Although the Court acknowledged the personal jurisdiction
analysis to be “close,” “section 1292(b) was not intended merely to provide review of difficult rulings in
hard cases.” Villarreal, 85 F. Supp. 3d at 1068 (quoting U.S. Rubber Co. v. Wright, 359 F.2d 784, 785
(9th Cir. 1966)). Further, “[t]hat settled law might be applied differently does not establish [the]
substantial ground for difference of opinion” necessary to justify certifying an order for interlocutory
appeal. Couch v. Telescope, Inc., 611 F.3d 629, 633–34 (9th Cir. 2010). Personal jurisdiction law is
well-settled and the inquiry is inherently fact-specific. Accordingly, though this may be a “close case,”

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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

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the Court declines to exercise its discretion to certify the order for interlocutory appeal.

         The Court therefore DENIES Mizuho’s Motion for Certification. (DE 58.)



         IT IS SO ORDERED.


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                                                   Initials of Preparer                        VRV




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